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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO
                             Judge R. Brooke Jackson



Case No. 15-cr-00383-RBJ                                   Trial Date     July 9, 2018 ____

Case Title   United States v. Daniel Dirk Coddington

                                         Defendant           FINAL WITNESS LIST
                                (Plaintiff / Defendant)


             WITNESS                         PROPOSED LENGTH OF TESTIMONY
                                         Direct: 1.5       Cross:   45         Total:
Agent Richard Mclain                             hrs                min
                                         Direct:           Cross:              Total:
Janet McHard                                     2 hrs              1
                                                                    hr
                                         Direct:           Cross:              Total:
Paul Sherman                                       2 hrs            1
                                                                    hr
                                         Direct: 30        Cross:   30         Total:
Mykael Morgan                                    min                min
                                         Direct: 30        Cross:   30         Total:
Henry Thomas Hammond                             min                min
                                         Direct: 30        Cross:   30         Total:
David Williams                                   min                min
                                         Direct: 30        Cross:   30         Total:
Kelli Ramona                                     min                min
                                         Direct: 1         Cross:   1          Total:
Agent Brian Blauser                              hr                 hr
                                         Direct: 20        Cross:              Total:
Agent Scott Dahlstrom                            min                unknown
                                         Direct: 20        Cross:              Total:
Agent Kristen Varel                              min                unknown
                                         Direct: 20
Agent Travis Wall                                min       Cross: unknown      Total:
                                         Direct: 20
Agent Sarah Anderson                             min       Cross: unknown      Total:
                                         Direct: 20
Agent Scott Nielsen                              min       Cross: unknown      Total:
